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                          UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                              FORT MYERS DIVISION

                              CASE NO. 2:17-cv-00665-UA-MRM

  RUTH MCCOWN, individually and on
  behalf of all others similarly situated,
                                                     CLASS ACTION COMPLAINT
                 Plaintiff,
                                                     DEMAND FOR JURY TRIAL
  v.

  CAPITAL PAWN II OF FLORIDA, LLC
  a limited liability company,

                 Defendant.


                 STIPULATION OF DISMISSAL WITHOUT PREJUDICE

       Plaintiff Ruth McCown and Defendant Capital Pawn II of Florida, LLC, pursuant to

Federal Rule of Civil Procedure 41(a)(1)(A)(ii), hereby stipulate to the dismissal of this action as

follows: All claims of the Plaintiff and the putative class members are hereby dismissed without

prejudice, with each party to bear their own attorney’s fees and costs.
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Date: July 25, 2018

Respectfully submitted,

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                                                      Counsel for Defendant




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                                 CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on July 25, 2018, I electronically filed the foregoing document

with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being

served this day on all counsel of record via transmission of Notice of Electronic Filing generated

by CM/ECF.



                                                    By: /s/ Manuel S. Hiraldo
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